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 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-365-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RONALD REEVES,                                  )
                                                     )
13
                                                     )       Date: June 6, 2014
                                                     )       Time: 9:00 a.m.
14
             Defendant.                              )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Justin Lee, Assistant
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19   United States Attorney, together with counsel for defendant Ronald Reeves, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on April 4, 2014.
22
          2. By this stipulation, the defendant now moves to continue the status conference until June
23

24
     6, 2014 and to exclude time between April 4, 2014 and June 6, 2014 under the Local CodeT-4

25   (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:
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     a. Counsel for the defendant needs additional time to review the discovery, conduct
 1

 2      investigation, and continue negotiations with prosecution in an effort to reach a

 3      resolution.
 4
     b. Currently the discovery in this case includes 129 pages and two video DVDs.
 5
     c. Counsel for the defendant has recently provided the government with numerous
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 7
        documents relating to the defendant. The government needs time to review the

 8      material and the parties need additional time to discuss a plea agreement. Additional
 9      time is also necessary to: meet with the defendant to review the anticipated proposed
10
        agreement; discuss statutory and USSG implications associated with the agreement;
11
        discuss consequences associated with a guilty plea (or verdict); discuss possible
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13      defenses; discuss trial scenarios; and, options going forward.

14   d. Counsel for the defendant believes the failure to grant a continuance in this case
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        would deny defense counsel reasonable time necessary for effective preparation,
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        taking into account the exercise of due diligence.
17
     e. The Government does not object to the continuance.
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19   f. Based on the above-stated findings, the ends of justice served by granting the

20      requested continuance outweigh the best interests of the public and the defendant in a
21
        speedy trial within the original date prescribed by the Speedy Trial Act.
22
     g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
23
        Section 3161(h)(7)(A) within which trial must commence, the time period of April 4,
24

25      2014 to June 6, 2014, inclusive, is deemed excludable pursuant to 18 United States

26      Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code T-4
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        because it results from a continuance granted by the Court at defendant’s request on
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                the basis of the Court’s finding that the ends of justice served by taking such action
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 2              outweigh the best interest of the public and the defendant in a speedy trial.

 3      4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
 5
     a trial must commence.
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 7

 8      IT IS SO STIPULATED.
 9   Dated: April 2, 2014                                          /s/ John R. Manning
10
                                                                  JOHN R. MANNING
                                                                  Attorney for Defendant
11                                                                Ronald Reeves
12
     Dated: April 2, 2014                                         Benjamin B. Wagner
13                                                                United States Attorney

14                                                        by:     /s/ Justin Lee
                                                                  JUSTIN LEE
15
                                                                  Assistant U.S. Attorney
16

17                                                ORDER
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            IT IS SO FOUND AND ORDERED.
     Dated: April 2, 2014
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